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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

DWAINE COLEMAN,                                )
                                               )
            Plaintiff,                         )
                                               )        Civil No. 3:15-cv-00898-SMY
vs.                                            )
                                               )
LT. VINSON, et al.,                            )
                                               )
            Defendants.                        )


                                    ENTRY OF APPEARANCE

To the Clerk of this Court and all parties of record:

            I, Michael J. Hickey of the law firm of Lewis Rice LLC, hereby enter my appearance as

counsel in this case on behalf of the Plaintiff Dwaine Coleman.


                                               Respectfully submitted,

                                               LEWIS RICE LLC

                                                /s/ Michael J. Hickey
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                                               Counsel for the Plaintiff


                                   CERTIFICATE OF SERVICE

        The undersigned certifies that on this 18th day of March, 2016, a true and correct copy of
the foregoing was served via operation of the Court’s electronic case filing system upon counsel
of record in this matter.

                                                           /s/ Michael J. Hickey




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